                                                                     United States Courts
Case 4:21-cr-00559   Document 1   Filed on 11/30/21 in TXSD    Page 1 of 6District of Texas
                                                                 Southern
                                                                             FILED
                                                                     November 30, 2021
                                                                Nathan Ochsner, Clerk of Court

                                                                          Sealed
                                                              Public and unofficial staff access
                                                                   to this instrument are
                                                                 prohibited by court order


                                                              4:21-cr-559
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                               NOTICE OF CRIMINAL FORFEITURE
                             (18 U.S.C. § 924(d)(l) and 28 U.S.C. § 246l(c))

        Pursuant to Title 18 United States Code, Section 924(d)(l) and Title 28, United States

Code, Section 2461(c), the United States hereby gives notice to defendants, that upon conviction

of a knowing violation of Title 18, United States Code, Sections 554, all firearms and

ammunition involved in or used in any such violation is subject to fo1feiture,including but not

limited to:


    I) TWO BARRETT .50 CALIBER FIREARMS



                                                A tf',RTTP ATTT.·



                                                 Original Signature of file
                                                FOREPERSON OF THE GRAND JURY


JENNIFER B. LOWERY
ACTING UNITED STATES ATTORNEY




LISA M. COLLINS
Assistant United States Attorney
Southern District of Texas
713-567-9700




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